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October 15, 2018

 

HAND-DELIVERED VIA CLERK’S OFFICE F| L E D

l\/ls. Carmelita Reeder Shinn

Court Clerk 1 5 018

United States District Court for the Western District ofOklahoma OCT 2

William J. Holloway, Jr. United States Courthouse, Room 1210 ` cARMELiTA REEDER sH:MN, cLERK

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200 NW 4th Strect BY ii __\oEPuTY

Oklahoma City, OK 73102

Subject: Page v. Democrcrric Nmir)nrzl Commr'!lee, Per'kiirs Coi'e LLR Marc Elias, and Mfchaef
Su.r.s'mcmir, Cl\/l/ECF Filing Request

1 respectfully ask the Court for permission to participate in electronic case filing (“e-
filing”) in the subject case.

l have suffered significant abuses stemming directly from the torts committed by the
Defendants in this case. Any decision by the Court to grant permission for this basic right which
1 have previously earned by fulfilling the mandatory requirements for ECF participation in
another federal courtjurisdiction would create a fairer playing field as 1 continue working to
restore my rights which were violated by the Defendants. Although l am acting on my own in
this pro se case, the large number of lawyers who will inevitably represent my adversaries have
each been granted access to ECF as the Defendants are expected to use this streamlined system
throughout these proceedings

“...implicit in the right to self-representation is an obligation . . . of the court to make
reasonable allowances to protect pro se litigants from inadvertent forfeiture of important
rights...” - McLe()d v. .]ewr`.s'h Gtri[r.z'_fc`)r' the Bli`nd, 864 F.3d 156-57 (2d Cir. 2017)

O'f even greater direct signi'licance, l have suffered domestic terrorism threats that arose
in the wake of defamatory news reports that stemmed directly from torts committed by the
Defendants. l\/ly ability to continue pursuing the restoration of my rights which have been
SadiStieally trampled by the Del`cndants may be significantly impeded by any requirement to
walk out in public on the streets, including future visits to the U.S. District Court for the Western
District of Oklahoma, U.S. Post Office locations, etc. Your kind approval of ECF access would
help to mitigate these risks.

Further cxacerbating these death threats is the fact that the FBI has been slow to
counteract this reign of terror despite multiple prior requests, thereby allowing the life-
threatening security risks to continue. 'l`he potential underlying motivations and intents for this
disregard have now become far more readily understandable following the release of an initial
U.S. Department of Justicc Inspector General report. This report has revealed political
motivations by senior law enforcement officials at the Bureau aimed against Trump supporters,

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unprecedented levels of bias, as well as associated violations ofDOJ’s media poliey.l Additional
related domestic terror threats have also stemmed directly from a similar misinformation
campaign by the U.S. Senate Select Committee on intelligence (“SSCI”), as demonstrated with
the allegations found in the indictment of SSCl’s Director ofSecurity. [U.S.A. v James A. Wolfe,
1:18-cr-00i70, D.D.C.1 June 7, 2018]. Approval of my ECF user request form today would
allow me to significantly decrease my personal security risk by staying out of harm’s way.

Furthermore, 1 affirm under penalty of perjury that:

l. l have reviewed Court Eleetronic Case Filing Rules & lnstructions for other U.S. F ederal
Courts, and agree to abide by them.

 

2. 1 have successfully exceeded other ECF training requirements following my completion
ofthe Cl\/l/ECF education sessions with the U.S. District Court for the Southern District
o'fl\lew York: `

Date Location § ECF Training received § Presenter §
Feb. 15, 2018 § l\/loynihan Courthouse § POC & Intro Class § l\/lr. Wayne Bowman §

§ Oct. 11, 2017 § l\/Iarshall Courthouse § Attorney Civil Case Opening § Ms. Lourdes Aquino

3. l have submitted a Non-Attorney E-File Registration for the PACER system, and my CM!
ECF electronic filing registration has been processed

4. 1 know how to convert a document to PDF-A format.

5. 1 have regular access to the technical requirements necessary to e~file successfully,
including:

a computer with internet access and a word processor

an e-mail account (on a daily basis) to receive notifieations from the Court and notices
from the e~l'iling system

a scanner to convert documents that are only in paper format into electronic files

a PDF reader and a PDF writer to convert word-processing documents into PDF format,
the only electronic format in which documents can be e-filed version of PDF reader and
writer

' Offtce of the Inspector General, “A Review of Various Aetions by the Federal Bureau of
[nvestigation and l)epartment of Justice in Advance of the 2016 Election,” U.S. Department of
Justice, J unc 2018. littps://www.iustice.gov/file/l071991/download

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° a printer or copier to create required paper copies such as chambers copies
Thank you in advance for your consideration of this potential life or death situation
Very respectfully,

Carter Page, Ph.D.

